      Case 4:19-cv-00065-O Document 21 Filed 09/04/20             Page 1 of 1 PageID 364



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 KEVIN BATES,                                    §
                                                 §
          Plaintiff/Counter-Defendant,           §
                                                 §
 v.                                              §    Civil Action No. 4:19-cv-00065-O
                                                 §
 U.S. BANK NATIONAL                              §
 ASSOCIATION and OCWEN LOAN                      §
 SERVICING, LLC,                                 §
                                                 §
          Defendants/Counter-Plaintiffs/         §
          Third-Party Plaintiffs,                §
                                                 §
 v.                                              §
                                                 §
 REGINA BATES,                                   §
                                                 §
          Third-Party Defendant.                 §

                               AMENDED FINAL JUDGMENT

         Pursuant to the Court’s order dated June 10, 2020 (ECF No. 15) and order dated September

4, 2020 (ECF No. 20), it is hereby ORDERED, ADJUDGED, and DECREED that Plaintiff’s

claims in this matter are dismissed with prejudice, and Defendants’ Counterclaim and Third-

Party Complaint are dismissed without prejudice.

         It is further ORDERED, ADJUDGED, and DECREED that any relief not specifically

granted in this Amended Final Judgment is DENIED.

         SIGNED this 4th day of September, 2020.


                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




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